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                                                                                  U.S. Department of Justice

                                                                                  United States Attorney
                                                                                  Middle District of Georgia


           _____________________________________________________________________________________________
                                                           Criminal Division                    Phone (478)752-3511
                                                           Post Office Box 1702                   Fax (478)621-2655
                                                           Macon, Georgia 31202                   Fax (478)621-2656


                                                           February 25, 2021


C. Brian Jarrard
Jarrard Law Group, LLC
4108 Arkwright Road, Suite 2
Macon, GA 31210

       RE:      U.S. vs. Jarvis Lockett, et al
                Case Number: 5-21-CR-3-TES

Dear Mr. Jarrard,

        Enclosed please find your external drive containing discovery materials in the above referenced
matter. The drive is encrypted, and the password and discovery index were emailed to you on February 25,
2021.
        You will see in these materials that there are a number of folders to help organize the discovery
materials. For example, there are folders for each investigating agency, along with folders broken down by
the defendant’s name. These folders are then broken into subfolders containing discovery materials related
to specific stages of the investigation. These subfolders will include the reports and other materials related
to those events.

        These folders include the most pertinent information regarding that defendant, including their
intercepted calls/text messages. Please note, these folders may not include every single report and piece of
evidence on each defendant but were created by the case agent to help organize and locate materials.

       There were a total of 5 lines that were intercepted during this investigation:

       •        TT1 -         -3922 (Jarvis Lockett)
       •        TT2 -         -0309 (Derrick Owens)
       •        TT3 -         -7745 (Christopher Raines)
       •        TT4 -         -4313 (Armard Davis)
       •        TT5 -         -4666 (Jason Carter)

The line sheets and full interceptions for each of these lines can be found in the DEA folder.

       During the execution of search warrants at the defendant’s residences, 16 electronic devices were
seized and analyzed. The data on these devices amounts to over 530 gigabytes. The vast majority of this
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data is unrelated to this investigation, but if you would like to examine it, please contact me and I will
arrange a time for you to meet with the agents.

       As a reminder, Judge Self has entered a protective order covering these discovery materials. (See
Doc. 162).

       A confidential human source was used during the course of this investigation. I will be following
up with some basic impeaching information on this source soon.

       Reciprocal Discovery. This letter is also sent pursuant to Federal Rule 16(b) and constitutes the
Government’s request for pretrial discovery. Consequently, we request inspection and/or copies of the
following disclosures:

       a.    Any and all documents or other physical objects intended to be introduced as exhibits of the
       Defendant at trial or which are prepared by a witness whom the Defendant intends to call at trial;
       and

       b.     Any results or reports of physical or mental examinations and of scientific tests or
       experiments made in connection with this case within the possession or control of the Defendant,
       which the Defendant intends to introduce as evidence at trial, or which are prepared by a witness
       whom the Defendant intends to call at trial when the results or reports relate to the testimony of such
       witness.

       Defense Notice. Pursuant to Rule 12.1 of the Federal Rules of Criminal Procedure, the Government
requests notice of any all alibi defenses. The Government further requests, pursuant to Rule 12.2 of the
Federal Rules of Criminal Procedure, notice of an insanity defense and/or notice of expert evidence of a
mental condition.

        The government is tendering these documents pursuant to its obligation under the provision of Rule
16 of the Federal Rules of Criminal Procedure. As the obligation pursuant to Rule 16 is ongoing, the
government will continue to provide you with any other relevant information pertaining to this case which
is disclosed to the government.
       Should you have any questions or concerns, please feel free to contact me.

                                              Sincerely,

                                              PETER D. LEARY
                                              ACTING UNITED STATES ATTORNEY

                                              /s/ William R. Keyes
                                              William R. Keyes
                                              Assistant United States Attorney

cc.    Banumathi Rangarajan
       Trial Attorney
       Environmental Crimes Section

Enclosure
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